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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NEW YORK

__________________________________________

UNITED STATES OF AMERICA,

                                   Plaintiff

                                                        DECISION and ORDER
-vs-
                                                        18-CR-6119

RAY DAVIS,

                           Defendant
__________________________________________


         Siragusa, J. This case was referred by text order of the undersigned, entered on

August 7, 2018, to Magistrate Judge Marian W. Payson pursuant to 28 U.S.C. §

636(b)(1)(A)-(B), ECF No. 23. On December 26, 2018, Defendant filed an omnibus motion,

ECF No. 43, seeking inter alia, dismissal of the subject indictment and suppression of

photographic identifications. With respect to his application to dismiss the indictment,

Defendant moved based upon grounds of insufficiency and double jeopardy. With respect to

his application to suppress photographic identifications, Magistrate Judge Payson ordered a

hearing, which hearing was held February 20, 2019, ECF No. 53. In that regard, two

photographic identification procedures involving two separate witnesses were conducted, the

first on November 30, 2017, and the second on February 6, 2018. At the hearing, Defendant

raised an issue regarding the November 30, 2017, procedure. He pointed out that an earlier

photographic identification procedure involving Defendant had been conducted with the same

witness in the course of a separate state investigation in October, 2015. Consequently, he

maintained that the government had to show that the October, 2015, identification did not
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prejudice the subsequent identification in November of 2017.    On May 1, 2019, Magistrate

Judge Payson filed a Report and Recommendation (“R&R”), ECF No. 61, recommending that

the Court deny Defendant’s applications to dismiss the indictment and suppress the

photographic identifications. After being granted a nunc pro tunc extension, Defendant timely

filed objections on June 11, 2019, ECF No. 67, maintaining as follows:

       1.     Dismissal of the Indictment.

       Davis moves to dismiss the Indictment on two separate grounds. It should
       be dismissed for insufficiency. The Court found that there is a presumption
       that are lawful and regular. The motion is not based on speculation for
       reasons set forth in the Omnibus Motions and not the oral arguments. The
       Indictment must be dismissed for insufficiency.

       2.     Photographic Materials.

       The Hon. Marian W. Payson, in her Decision on the Photographic
       Identification Procedures, does not give credence to the fact that the
       witnesses viewed a photograph based on an earlier photographic
       identification procedure. Therefore, a subsequent identification procedure is
       tainted. As such, the defense objects to the recommendation allowing for the
       administration of an in Court identification of the Defendant. Therefore, the
       Court should grant the Defendant’s motion to suppress the in Court
       photographic array of the Defendant.

Objection to Report and Recommendation, p.2.

       Pursuant to 28 U.S.C. § 636(b)(1), this Court must make a de novo determination

of those portions of the R&R to which objections have been made. Upon a de novo review

of the R&R, including a review of the transcript of the suppression hearing held on February

20, 2019, along with exhibits received into evidence, as well as Defendant’s objections, this

Court accepts the proposed findings and recommendation. Accordingly, for the reasons

set forth in Magistrate Judge Payson’s R&R, Defendant’s applications to dismiss the

indictment and suppress the photographic identifications are denied.


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      IT IS SO ORDERED.

Dated: Rochester, New York
       July 11, 2019

                        ENTER:

                                  /s/ Charles J. Siragusa
                                  CHARLES J. SIRAGUSA
                                  United States District Judge




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